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                                                           The Honorable Judge Richard A. Jones
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
                                      AT SEATTLE
 8
 9   PRASANNA SANKARANARAYANAN, )
                                         )                  No. 2:24-cv-01745-RAJ
10                                       )
                       Petitioner,       )
11                                       )                 [PROPOSED] STIPULATED ORDER
12   vs.                                 )
                                         )
13   DHIVYA SASHIDHAR,                   )
                                         )
14                     Respondent.       )
     ____________________________________)
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16             Before the Court is the Verified Petition for Return of the Child to Singapore (the
17   “Petition”) filed by the Petitioner, Prasanna Sankaranarayanan (the “Petitioner”), against the
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     Respondent, Dhivya Sashidhar (the “Respondent”) pursuant to The Hague Convention on the Civil
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     Aspects of International Child Abduction and the International Child Abduction Remedies Act
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     (“ICARA”) [ECF No. 1]. On December 3, 2024, Petitioner submitted the Child’s U.S. passport to
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22   the Clerk of the Court, and a receipt acknowledging this submission has been provided. Upon the

23   consent of both parties, as evidenced by the signatures of their respective counsel below, it is
24   hereby:
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               1.    ORDERED, that both Petitioner and Respondent are prohibited from removing
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                     S.A. (the “Child”) or causing the Child to be removed from the jurisdiction of this
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                     Court, pending final disposition of the above referenced Petition; and it is further
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          2.    ORDERED, that Petitioner shall surrender any and all of the Child’s passports in
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 2              his possession, custody and/or control to the Court on an expedited basis. If

 3              passports are not in Petitioner’s possession, he must submit a sworn statement that

 4              he has exhausted all methods of search for the passports and did not result in finding
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                them. If Petitioner later locates the passports, he must expeditiously submit them to
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                the Court at that time.
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 8        DATED at __:__ this __ day of December 2024.

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                                                  BY THE COURT:
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                                                  _____________________________________
13                                                RICHARD A. JONES
                                                  CHIEF JUDGE
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 1   SEEN AND APPROVED AS TO FORM AND CONTENT:

 2
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